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             EXHIBIT G
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                          DECLARATION OF KATHERINE KIM

I, Katherine Kim, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct.

   1. My name is Katherine Kim. I am a licensed attorney in good standing in the state of New
      York. I am the Deputy Director of the Immigration Practice at The Bronx Defenders.

   2. Our office represents L.G., who is a young man from Venezuelan who fled to the United
      States for safety, in removal proceedings.

   3. When our office began representing him in February 2025, L.G. was detained at the
      Moshannon Valley Processing Center in Philipsburg, Pennsylvania. Starting on or about
      February 14, 2025, his removal proceedings were venued at the court in Elizabeth, New
      Jersey.

   4. L.G. does not have a removal order. His removal proceedings are pending, and he has a
      pending claim for asylum. His next court date is scheduled for a Master Calendar Hearing
      on April 8, 2025. As L.G. does not have a final removal order, there is no basis to remove
      him under the Immigration and Nationality Act.

   5. On or about March 10, 2025, L.G.’s legal team learned that L.G. was abruptly transferred
      to the El Valle Detention Facility in Texas. On March 11, 2025, the attorneys assigned to
      L.G.’s case appeared for a Master Calendar Hearing before the court in Elizabeth, NJ.
      The government did not produce L.G. The government filed a change of address form for
      L.G. and moved to change venue to the Port Isabel court in Los Fresnos, TX. The court in
      Elizabeth, NJ granted that motion and changed venue.

   6. On or about March 13, 2025, the Port Isabel court scheduled a Master Calendar Hearing
      for March 18, 2025.

   7.    ICE has alleged in a Form I-213 that L.G. is an associate or member of the Tren de
        Aragua gang. L.G. denies being a gang member. Apart from the Form I-213, ICE has
        provided no other evidence to substantiate why they suspect L.G. of gang membership.
        L.G. strongly contests ICE’s gang allegations.

   8. L.G. does not have any criminal arrests or convictions in the U.S. ICE has alleged in a
      Form I-213 that L.G. is “pending indictment for firearms related investigations.” The
      government has provided no other evidence to substantiate this allegation.
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9. L.G. has three tattoos: one is a rosary, the other is his partner’s name, and the third is a
   rose and a clock. None of these tattoos are related to Tren de Aragua gang membership or
   membership in any other gang.

10. On Friday, March 14, 2025, one of the attorneys assigned to L.G.’s case called El Valle
    Detention Facility to try to schedule a legal call with L.G. He was told by the facility that
    he was no longer there. He asked where L.G. was and was told by the facility employee
    that he did not know. Shortly after this call, he checked the ICE detainee locator, which
    stated that L.G. was still at El Valle.

11. On Saturday, March 15, 2025, one of the attorneys assigned to L.G.’s case called El Valle
    Detention Facility again. This time, the facility told him that L.G. had left earlier that
    morning. This was contradictory to what he had been told previously.

12. A supervising attorney from our office also called Port Isabel Processing Center on
    Saturday, March 15, 2025, and Port Isabel Processing Center told him that L.G. was not
    there. They recommended that he call El Valle Detention Facility.

13. After calling Port Isabel Processing Center, the same supervising attorney also called El
    Valle Detention Facility on Saturday, March 15, 2025, and El Valle Detention Facility
    told him that L.G. had been “picked up” sometime that day and that he was either
    transferred to another facility or removed. They recommended that he call Port Isabel
    Processing Center.

14. On the afternoon of Sunday, March 16, 2025, one of the attorneys on L.G.’s team
    checked the ICE detainee locator, and it showed that L.G. was no longer in ICE custody.
    Our team had checked the ICE detainee locator numerous times over that weekend, and
    previously the locator had shown that he was at El Valle Detention Facility.

15. On March 18, 2025, L.G.’s legal team appeared for L.G.’s Master Calendar Hearing
    before the court in Los Fresnos, TX. The government did not produce L.G. The
    government stated that L.G. was either transferred to another facility or removed from the
    U.S. The court continued the hearing to April 8, 2025, for an update on L.G.’s
    whereabouts.

16. L.G.’s legal team has not been able to speak with L.G. since Thursday, March 13, 2025.
    His partner also has not heard from him since the early morning of Saturday, March 15,
    2025.
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   17. We are gravely concerned that L.G. has been wrongfully removed based on the Alien
       Enemies Act despite his pending removal proceedings and despite the fact that he
       strongly contests the government’s gang allegations.

   18. I regularly receive referrals for detained New Yorkers seeking immigration
       representation. Last week, our office was attempting to reach out to a prospective client,
       R.B., a Venezuelan national. At the time his case was first referred to us in late February,
       he was in ICE custody at the Moshannon Valley Processing Center in Philipsburg, PA.
       On March 11, 2025, Moshannon Valley Processing Center informed us that R.B. was no
       longer there. Through the ICE detainee locator, we saw that he had been transferred to El
       Valle Detention Facility.

   19. On Monday, March 17, 2025, our office reached out to R.B.’s family member who
       informed us that she had not heard from R.B. since the morning of Saturday, March 15,
       2025, and that ICE had told him on Friday, March 14, 2025 that he was going to be taken
       to Venezuela. R.B.’s family member informed us that she believes he was one of the
       people removed to El Salvador because she recognized him in a photo.

   20. R.B. does not have a removal order. As of the signing of this declaration, the Executive
       Office of Immigration Review’s Automated Case Information website shows that R.B.’s
       removal proceedings are still pending, with a court date scheduled for March 21, 2025.
       As R.B. does not have a final removal order, there is no basis to remove him under the
       Immigration and Nationality Act.

   21. R.B.’s family member also informed us that he does not have a criminal record anywhere
       in the world. She believes that the government has falsely accused him of membership in
       Tren de Aragua based on a single tattoo, which is of a flower.


Executed on the 19th of March, 2025 in New York, NY.




                                                             ______________________
                                                             ________________________
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                                                              Katherine
                                                              Kaatthherine Kim, Esq.
                                                              The Bronx Defenders
                                                              360 E. 161st Street
                                                              Bronx, NY 10451
